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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 UNITED STATES OF AMERICA and §
 STATE OF TEXAS,               §
                               §
                   Plaintiffs, §                     CIVIL ACTION NO. 4:18-CV-3368
 v.                            §                     JUDGE EWING WERLEIN, JR.
                               §
 CITY OF HOUSTON,              §
                               §
                   Defendant.  §

                                      Certificate of Service

       I certify that on October 9, 2018, I served Bayou City Waterkeeper’s Opposed Motion to

Intervene as Plaintiff and all attachments on the following counsel via U.S. mail and email:

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                                                               /s/ David Frederick
                                                               David Frederick

                                                               Attorney for the Proposed Plaintiff-
                                                               Intervenor Bayou City Waterkeeper




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